                          EXHIBIT

                                A




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                  UNITED STATES DISTRICT COURT FOR
                THE MIDDLE DISTRICT OF NORTH CAROLINA

 STUDENTS FOR FAIR ADMISSIONS,
 INC.,

              Plaintiff,

              v.                            Civil Action No. 1:14-cv-954-LCB-JLW

 THE UNIVERSITY OF NORTH
 CAROLINA AT CHAPEL HILL, et al.,

                      Defendants.


             DECLARATION OF LAURA GAZTAMBIDE-ARANDES

      I, Laura Gaztambide-Arandes, hereby declare as follows:

      1.     I am over the age of eighteen and am competent to make this Declaration. I

have personal knowledge of the matters set forth herein.

      2.     I am co-counsel for Defendant-Intervenors in the above-captioned case. I

have been admitted pro hac vice to practice in the Middle District of North Carolina.

Defendant-Intervenors are also represented by Jack Holtzman (N.C. Bar No. 13548) and

Emily P. Turner (N.C. Bar No. 49578) of the North Carolina Justice Center.

      3.     I submit this Declaration in support of Defendant-Intervenors’ Brief in

Response to Plaintiff’s Motion for Summary Judgment.

      A.     Exhibit 1 is a true and correct copy of the Declaration of Defendant-

             Intervenor Laura Ornelas, dated June 23, 2015. Exhibit 1 was previously

             filed on June 30, 2015 as Exhibit 1.9 of Defendant-Intervenors’ Motion to




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       Intervene in Defense of the University of North Carolina at Chapel Hill’s

       Admission Policy (ECF No. 39).

 B.    Exhibit 2 is a true and correct copy of the Declaration of Defendant-

       Intervenor Luis Acosta, dated June 23, 2015. Exhibit 2 was previously filed

       on June 30, 2015 as Exhibit 1.7 of Defendant-Intervenors’ Motion to

       Intervene in Defense of the University of North Carolina at Chapel Hill’s

       Admission Policy (ECF No. 39).

 C.    Exhibit 3 is a true and correct copy of the Declaration of Defendant-

       Intervenor Cecilia Polanco, dated June 23, 2015. Exhibit 3 was previously

       filed on June 30, 2015 as Exhibit 1.6 of Defendant-Intervenors’ Motion to

       Intervene in Defense of the University of North Carolina at Chapel Hill’s

       Admission Policy (ECF No. 39).

 D.    Exhibit 4 is a true and correct copy of the Declaration of Defendant-

       Intervenor Andrew Brennen, April 3, 2017. Exhibit 4 was produced during

       discovery by Defendant-Intervenors on January 12, 2018.

 E.    Exhibit 5 is a true and correct copy of the Declaration of Siena Scarbrough,

       dated June 18, 2017. Exhibit 5 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 F.    Exhibit 6 is a true and correct copy of the Declaration of Hanna Watson,

       dated May 4, 2017. Exhibit 6 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.



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 G.    Exhibit 7 is a true and correct copy of the Declaration of D’Angelo

       Gatewood, dated June 2, 2017. Exhibit 7 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 H.    Exhibit 8 is a true and correct copy of the Declaration of Lisa-Anne Staton

       Dyer, dated June 20, 2017. Exhibit 8 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 I.    Exhibit 9 is a true and correct copy of the Declaration of Kenneth Ward,

       dated May 30, 2017. Exhibit 9 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 J.    Exhibit 10 is a true and correct copy of the Declaration of Hanna Watson,

       dated May 4, 2017. Exhibit 10 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 K.    Exhibit 11 is a true and correct copy of the Declaration of Patsy B. Zeigler,

       dated May 30, 2017. Exhibit 11 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.

 L.    Exhibit 12 is a true and correct copy of the Declaration of Gwenevere

       Charlene Parker, dated May 31, 2017. Exhibit 12 was produced during

       discovery by Defendant-Intervenors on January 12, 2018.

 M.    Exhibit 13 is a true and correct copy of the January 9, 2018 Expert Report

       of Dr. David S. Cecelski, produced by Defendant-Intervenors during

       discovery on January 12, 2018.



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 N.    Exhibit 14 is a true and correct copy of the April 6, 2018 Response to the

       Expert Report of Richard D. Kahlenberg by Dr. Mitchell J. Chang,

       produced by Plaintiffs during discovery.

 O.    Exhibit 15 is a true and correct copy of the Declaration of Valerie

       Newsome Hayes, dated May 29, 2017. Exhibit 15 was produced during

       discovery by Defendant-Intervenors on January 12, 2018.

 P.    Exhibit 16 is a true and correct copy of the Declaration of Defendant-

       Intervenor Star Wingate-Bey, dated June 22, 2015. Exhibit 16 was

       previously filed on June 30, 2015 as Exhibit 1.8 of Defendant-Intervenors’

       Motion to Intervene in Defense of the University of North Carolina at

       Chapel Hill’s Admission Policy (ECF No. 39).

 Q.    Exhibit 17 is a true and correct copy of the Declaration of Adrian C.

       Douglass, M.D., dated May 31, 2017. Exhibit 17 was produced during

       discovery by Defendant-Intervenors on January 12, 2018.

 R.    Exhibit 18 is a true and correct copy of the Declaration of Diandra Anna-

       Kay Dwyer, dated May 9, 2017. Exhibit 18 was produced during discovery

       by Defendant-Intervenors on January 12, 2018.

 S.    Exhibit 19 is a true and correct copy of the Declaration of Alan C. Frazier,

       dated June 2, 2017. Exhibit 19 was produced during discovery by

       Defendant-Intervenors on January 12, 2018.




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     T.     Exhibit 20 is a true and correct copy of the Declaration of Maria Gomez

            Flores, dated June 1, 2017. Exhibit 20 was produced during discovery by

            Defendant-Intervenors on January 12, 2018.

     U.     Exhibit 21 is a true and correct copy of the Declaration of Shatifa Searles,

            dated May 30, 2017. Exhibit 21 was produced during discovery by

            Defendant-Intervenors on January 12, 2018.

     V.     Exhibit 22 is a true and correct copy of the Declaration of Rimel Mwamba,

            dated May 4, 2017. Exhibit 22 was produced during discovery by

            Defendant-Intervenors on January 12, 2018.

     W.     Exhibit 23 is a true and correct copy of the Declaration of Pamela Phifer

            White, dated June 16, 2017. Exhibit 23 was produced during discovery by

            Defendant-Intervenors on January 12, 2018.



     I declare under penalty of perjury that the foregoing is true and correct.



EXECUTED WITHIN THE UNITED STATES ON: March 4, 2019



                                 BY:




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